  Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 1 of 20 PageID #: 1




                        UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF EASTERN DISTRICT OF MISSOURI


 JOHN REMORENKO, on behalf of                   Case No.:
 himself and all others similarly situated,


                Plaintiff,
        vs.

 PANERA BREAD CO., RONALD M.
 SHAICH, WILLIAM W. MORETON,
 DOMENIC COLASACCO, DIANE
 HESSAN, FRED FOULKES, LARRY
 FRANKLIN, THOMAS E. LYNCH, and
 MARK STOEVER, JAMES WHITE

                Defendants.                     DEMAND FOR JURY TRIAL


CLASS ACTION COMPLAINT FOR VIOLATION OF SECTIONS 14(a) AND 20(a) OF
              THE SECURITIES EXCHANGE ACT OF 1934
       Plaintiff John Remorenko (“Plaintiff”), on behalf of himself and the proposed Class

defined herein, brings this class action suit for violations of Sections 14(a) and 20(a) of the

Securities Exchange Act of 1934. In support of this class action complaint, Plaintiff, by his

attorneys, alleges upon information and belief, except for his own acts, which are alleged on

knowledge, as follows:


                                        INTRODUCTION

       1.      Plaintiff brings this action, on behalf of himself and the public stockholders of

Panera Bread Company (“Panera” or the “Company”), against the Company and its Board of

Directors (collectively, the “Board” or the “Individual Defendants,” as further defined below),

for violations of Sections 20(a) and 14(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”), and Rule 14a-9 promulgated thereunder (“Rule 14a-9”). Specifically, Defendants solicit

the tendering of stockholder shares in connection with the sale of the Company to an affiliate of



                                               1
     Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 2 of 20 PageID #: 2



JAB Holdings B.V., Rye Parent Corp. (“Parent”), by way of Parent’s wholly owned subsidiary

Rye Merger Sub, Inc. (“Merger Sub” and together with Parent, “JAB”), through a Proxy

Statement that omits material facts necessary to make the statements therein not false or

misleading.1 Stockholders require this material information to decide whether to vote in favor of

the proposed transaction.

          2.      On April 5, 2017, the Company announced that it had entered into an agreement

and plan of merger (the “Merger Agreement”), by which JAB will acquire all of the outstanding

shares of Panera in an all-cash transaction (the “Proposed Transaction”). If consummated, Panera

stockholders will receive $ $315.00 cash for each share of Panera stock that they own (“Merger

Consideration”). The Proposed Transaction is valued at approximately $7.5 billion.

          3.      On May 12, 2017, Defendants issued a materially incomplete and misleading

disclosures in the Schedule 14A Information Statement (the “Proxy Statement”) filed with the

United States Securities and Exchange Commission (“SEC”) in connection with the Proposed

Transaction. The Proxy Statement is materially misleading in that it fails to provide adequate

disclosure of material information related to the Proposed Transaction.

          4.      Specifically, the Proxy Statement fails to disclose material information about the

financial projections prepared by the Company and relied upon by the Company’s financial

advisor, and omits material information with respect to the process and events leading up to the

Proposed Transaction, including material information concerning conflicts of interest involving

the Company’s financial advisor. The omission of this material information renders the Proxy

Statement materially incomplete and misleading in violation of §§ 14(a) and 20(a) of the

Exchange Act.



1   The Company and the Individual Defendants are referred to herein as “Defendants.”


                                                    2
  Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 3 of 20 PageID #: 3



        5.      For these reasons and as set forth in detail herein, the Individual Defendants, and

the Company, have violated federal securities laws. Accordingly, Plaintiff seeks to enjoin the

Proposed Transaction or, in the event the Proposed Transaction is consummated, recover

damages resulting from the Individual Defendants’ violations of these laws. Judicial intervention

is warranted here to rectify existing and future irreparable harm to the Company’s stockholders.

                                  JURISDICTION AND VENUE

        6.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331, pursuant to 15

U.S.C. § 78aa (federal question jurisdiction), as Plaintiff alleges violations of Sections 14(a) and

20(a) of the Exchange Act and Rule 14a-9 promulgated thereunder

        7.      The Court has personal jurisdiction over each of the Individual Defendants

because each conducts business in and maintains operations in this District or is an individual

who either is present in this District for jurisdictional purposes or has sufficient minimum

contacts with this District as to render the exercise of jurisdiction by this Court permissible under

traditional notions of fair play and substantial justice.

        8.      Venue is proper in this District under § 27 of the Exchange Act, 15 U.S.C. §78aa,

as well as pursuant to 28 U.S.C. § 1391, because: (i) the conduct at issue took place and had an

effect in this District; (ii) Panera maintains its principal place of business in this District and each

of the Individual Defendants, and Company officers or directors, either resides in this District or

has extensive contacts within this District; (iii) a substantial portion of the transactions and

wrongs complained of herein, occurred in this District; (iv) most of the relevant documents

pertaining to Plaintiff’s claims are stored (electronically and otherwise), and evidence exists, in

this District; and (v) defendants have received substantial compensation in this District by doing

business here and engaging in numerous activities that had an effect in this District.




                                                   3
  Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 4 of 20 PageID #: 4



                                           PARTIES

       9.       Plaintiff is, and has been at all relevant times, the owner of shares of Panera

common stock.

       10.      Defendant Panera, is a national bakery-cafe concept with 2,042 Company owned

and franchise-operated bakery-cafe locations in 46 states, the District of Columbia and Ontario,

Canada. The Company is headquartered in St. Louis, Missouri, and operates as three business

segments: (i) Company-owned bakery-café operations; (ii) franchise operations; and (iii) fresh

dough and other product operations. The Company, organized and existing under the laws of the

State of Delaware, maintains its principal executive offices at 3630 South Geyer Road, Suite

100, St. Louis, Missouri 63127. Panera’s common stock is traded on the NASDAQ under the

ticker symbol “PNRA.”

       11.      Defendant Ronald M. Shaich (“Shaich”) is founder, chairman and CEO of Panera.

       12.      Defendant William W. Moreton (“Moreton”) has served as Panera’s Executive

Vice Chairman since August 2013 and as a member of the Company’s Board since May 2010.

       13.      Defendant Domenic Colasacco (“Colasacco”) has served as a member of the

Company’s Board since March 2000 and as the Company’s Lead Independent Director since

January 2008.

       14.      Defendant Diane Hessan (“Hessan”) has served as a member of the Company’s

Board since November 2012.

       15.      Defendant Fred Foulkes (“Foulkes”) has served as a member of the Company’s

Board since June 2003.

       16.      Defendant Larry Franklin (“Franklin”) has served as a member of Panera’s Board

since June 2001.




                                               4
  Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 5 of 20 PageID #: 5



       17.      Defendant Thomas E. Lynch (“Lynch”) has served as a member of Panera’s

Board since March 2010. This is Lynch’s second stint as a member of Panera’s Board. Lynch

previously served as a director from June 2003 until December 2006.

       18.      Defendant Mark Stoever (“Stoever”) was elected to Panera Board on January 31,

2016, and has served in this capacity ever since.

       19.      Defendant James White (“White”) was elected to Panera Board on January 31,

2016, and has served in this capacity ever since.

       20.      Defendants Shaich, Moreton, Colasacco, Hessan, Foulkes, Franklin, Lynch,

Stoever, and White, are collectively referred to as “Individual Defendants” and/or the “Board.”

                               OTHER RELEVANT ENTITIES

       21.      Defendant JAB is a privately held limited liability company incorporated under the

laws of the Netherlands.

       22.      Parent, Rye Parent Corp., is a Delaware corporation and an affiliate of JAB.

       23.      Defendant Merger Sub is a Delaware corporation, a wholly-owned subsidiary of

Parent, and a party to the Merger Agreement.

                              CLASS ACTION ALLEGATIONS

       24.      Plaintiff brings this action individually and as a class action on behalf of all

holders of Panera stock who are being, and will be, harmed by Defendants’ actions described

herein (the “Class”). Excluded from the Class are Defendants herein and any person, firm, trust,

corporation, or other entity related to, controlled by, or affiliated with, any Defendant, including

the immediate family members of the Individual Defendant.

       25.      This action is properly maintainable as a class action under Federal Rule of Civil

Procedure 23.




                                                    5
  Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 6 of 20 PageID #: 6



        26.     The Class is so numerous that joinder of all members is impracticable. According

to the Proxy Statement, as of April 30, 2017, there were 21,338,692 shares of Class A common

stock issued and outstanding, 1,381,730 shares of Class B common stock issued and outstanding,

18,174 shares of common stock underlying options with an exercise price below the per share

merger consideration of $315.00, and 54,100 shares of common stock underlying stock

appreciation rights with a reference price below the per share merger consideration of $315.00.

These shares are held by thousands of beneficial holders who are geographically dispersed across

the country.

        27.     There are questions of law and fact which are common to the Class and which

predominate over questions affecting any individual Class member. The common questions

include, inter alia, the following:

                a.        whether Defendants have violated Sections 14 and 20 of the Exchange Act

                          in connection with the Proposed Transaction; and

                b.        whether Plaintiff and the other members of the Class would be irreparably

                          harmed were the transactions complained of herein consummated.

        28.     Plaintiff’s claims are typical of the claims of the other members of the Class and

Plaintiff does not have any interests adverse to the Class.

        29.     Plaintiff is an adequate representative of the Class, has retained competent

counsel experienced in litigation of this nature, and will fairly and adequately protect the

interests of the Class.

        30.     The prosecution of separate actions by individual members of the Class creates a

risk of inconsistent or varying adjudications with respect to individual members of the Class,

which could establish incompatible standards of conduct for Defendants.




                                                  6
  Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 7 of 20 PageID #: 7



        31.     Plaintiff anticipates that there will be no difficulty in the management of this

litigation.   A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.

        32.     Defendants have acted on grounds generally applicable to the Class with respect

to the matters complained of herein, thereby making appropriate the relief sought herein with

respect to the Class a whole.

        33.     Accordingly, Plaintiff seeks injunctive and other equitable relief on behalf of

himself and the Class to prevent the irreparable injury that the Company’s stockholders will

continue to suffer absent judicial intervention.

                         FURTHER SUBSTANTIVE ALLEGATIONS

Company Background

        34.     Founded thirty years ago, Panera is an American chain of bakery-cafe fast casual

restaurants in the United States and Canada that has grown to become one of the largest bakery-

cafe concepts in the world. As of Dec. 27, 2016, there were 2,036 bakery-cafes in 46 states and

in Ontario, Canada operating under the Panera Bread®, Saint Louis Bread Co. ® or Paradise

Bakery & Cafe® names.

The Merger Process

        35.     In August of 2016, Panera was approached by a representative of a potential

strategic partner, Party A, concerning the possibility of a business combination between the two

entities. This interest was reciprocated by Panera, and discussions between the two entities

continued throughout the fall of 2016 until November, when a representative of Party A called

Defendant Shaich and informed him that, given the then current stock price of the Company,

Party A was not in a position to move forward with any business combination.




                                                   7
  Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 8 of 20 PageID #: 8



       36.     On February 9, 2017, a few months after Party A withdrew its interest, Defendant

Shaich held an introductory meeting with Olivier Goudet (“Goudet”), the Chief Executive

Officer of JAB, and David Bell (“Bell”), Head of M&A of JAB, to review each party’s

respective businesses. This initial meeting was followed by a second conversation on February

24, 2017, at which time Defendant Shaich, Goudet, and Bell discussed the possibility of a

business combination between the Company and JAB.

       37.     JAB’s interest in a potential business combination was first presented to Panera’s

Board during a March 1, 2017 Board meeting. After learning of Defendant Shaich’s meeting

with Messrs. Goudet and Bell, the Board discussed the possibility of a strategic transaction and

directed Defendant Shaich to continue discussions with JAB.

       38.     Pursuant to the Board’s directive, on March 10, 2017, Defendant Shaich again

met with Messrs. Goudet and Bell at which time Messrs. Goudet and Bell made an initial offer

for JAB to acquire the Company. Amongst other terms, the initial offer contemplated: (i) a

purchase price of $286.00 per share in cash; (ii) the absence of any financing condition to the

closing of the transaction; (iii) a limitation on Panera’s ability to contact any third parties in an

attempt to generate competing interest in a potential acquisition of the Company; (iii) an

expectation that Mr. Shaich, as a significant stockholder of the Company, would publicly support

the transaction; and (iv) that the definitive agreement would include a customary no-shop

provision with a fiduciary out and a 4% termination fee.

       39.     JAB’s initial offer was presented to the Board during a March 14, 2017 meeting.

A representative of Sullivan & Cromwell LLP (“Sullivan”), the Company’s outside legal

counsel, was in attendance and apprised the Board of the Board’s fiduciary duties under

Delaware law in considering a potential transaction with JAB. Following this discussion, the




                                                 8
     Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 9 of 20 PageID #: 9



Board reviewed JAB’s offer and concluded that the purchase price of $286.00 significantly

undervalued the Company. Accordingly, the Board directed Defendant Shaich to inform Messrs.

Goudet and Bell that any future offer must involve a purchase price significantly higher than the

$286.00 per share currently proposed. The Board also broached the topic of retaining a financial

advisor to advise the Board in connection with any potential transaction with JAB, and

determined that the Company should reach out to Morgan Stanley (“Morgan Stanley”) regarding

such potential engagement.2

          40.     On March 20, 2017, JAB communicated, through Mr. Goudet, that JAB was

prepared to make a revised offer of $296.50 per share in cash. That same day, Panera’s Board

met to evaluate this updated offer. Although the Board ultimately determined that the increased

offering price of $296.50 still undervalued the Company, the Board directed management to

move forward with further discussions and due diligence under the expectation that any final

price would be significantly higher.

          41.     From March 28, 2017 until the execution of the merger agreement on April 4,

2017, the parties and their respective representatives engaged in due diligence and participated in

numerous discussions and negotiations concerning the terms of both the merger agreement and

Defendant Shaich’s voting agreement. In connection with these negotiations, on April 3, 2017,

JAB increased its offer to $315.00 per share in cash.

          42.     Shortly thereafter, on April 4, 2017, the Board held a meeting to review the

proposed final draft of the Merger Agreement. During this meeting, a representative of Morgan

Stanley presented to the Board Morgan Stanley’s financial analysis of the $315.00 per share cash

consideration to be offered to Panera’s stockholders in the proposed merger, responded to



2   Panera would ultimately retain Morgan Stanley as the Company’s financial advisor on April 2, 2017.


                                                     9
 Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 10 of 20 PageID #: 10



questions from members of the Board regarding its financial analysis, and proceeded to deliver

Morgan Stanley’s oral opinion to the Board, subsequently confirmed by delivery of a written

opinion, that the $315.00 in cash per share merger consideration to be received by the holders of

Panera’s common stock was fair, from a financial point of view, to such holders. Following this

review, the Board concluded that the consideration reflected in the Merger Agreement was in the

best interests of the Company and the Company’s Stockholders, unanimously resolved that the

merger agreement be submitted for consideration by the stockholders of the Company at a

special meeting of stockholders, and recommended that the stockholders of the Company vote to

adopt the merger agreement.

       43.    The Merger Agreement was executed on April 4, 2016, and the two companies

announced the execution of the Merger Agreement the following morning.

The Merger Announcement

       44.    In a press release dated April 5, 2017, Panera announced that it had entered into a

Merger Agreement with JAB pursuant to which JAB will acquire all of the outstanding shares of

Panera common stock for $315 Per Share per share in cash.

       45.    The press release states in pertinent part:

       St. Louis, MO — APRIL 5, 2017 — Panera Bread Company (“Panera” or the
       “Company”) (NASDAQ: PNRA) and JAB today announced that the companies
       have entered into a definitive merger agreement under which JAB will acquire
       Panera for $315 per share in cash, in a transaction valued at approximately $7.5
       billion, including the assumption of approximately $340 million of net debt. The
       agreement, which has been unanimously approved by Panera’s Board of
       Directors, represents a premium of approximately 30% to the 30-day volume-
       weighted average stock price as of March 31, 2017, the last trading day prior to
       news reports speculating about a potential transaction, and a premium of
       approximately 20% to Panera’s all-time high closing stock price as of that same
       date.

       Comment by Panera Founder, Chairman and CEO
       Ron Shaich, Founder, Chairman and CEO of Panera, commented, “By any
       measure, Panera has been one of the most successful restaurant companies in


                                                10
Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 11 of 20 PageID #: 11



     history. What started as one 400 square foot cookie store in Boston has grown to a
     system with over 2,000 units, approximately $5 billion in sales, and over 100,000
     associates. In more than 25 years as a publicly traded company, Panera has
     created significant shareholder value. Indeed, Panera has been the best performing
     restaurant stock of the past twenty years – up over 8,000%. Today’s transaction is
     a direct reflection of those efforts, and delivers substantial additional value for our
     shareholders.”

     Shaich continued, “Over the last five years, we have developed and executed a
     powerful strategic plan to be a better competitive alternative with emerging
     runways for growth. The themes we have bet on - digital, wellness, loyalty, omni-
     channel, new formats for growth - are shaping the restaurant industry today.
     Indeed, the power of the plan is evident in our business results. Today, we are pre-
     releasing Q1 2017 Company-owned bakery-cafe comps of 5.3%, which is 690 bps
     better than the Black Box all-industry composite.”

     Shaich concluded, “Our success for shareholders is the byproduct of our
     commitment to long-term decision making and operating in the interest of all
     stakeholders, including guests, associates, and franchisees. We believe this
     transaction with JAB offers the best way to continue to operate with this
     approach. We are pleased to join with JAB, a private investor with an equally
     long-term perspective, as well as a deep commitment to our strategic plan.”

     Comment by JAB Partner and CEO
     Olivier Goudet, JAB Partner and CEO, said, “We have long admired Ron and the
     incredible success story he has created at Panera. I have great respect for the
     strong business that he, together with his management team, its franchisees and its
     associates, has built. We strongly support Panera’s vision for the future, strategic
     initiatives, culture of innovation, and balanced company versus franchise store
     mix. We are excited to invest in and work together with the Company’s
     management team and franchisees to continue to lead the industry.”

     Company Pre-Announces Comparable Net Bakery-Cafe Sales Growth for
     Company-owned Bakery Cafes

     In fiscal Q1 2017, Company-owned comparable net bakery-cafe sales increased
     5.3% compared to the same period in fiscal 2016. Two-year Company-owned
     comparable net bakery-cafe sales increased 11.5%. Additionally, Company-
     owned comparable net bakery-cafe sales in fiscal Q1 2017 outperformed the
     Black Box all-industry composite by 690 basis points.

     Transaction Details

     The transaction is not subject to a financing condition and is expected to close
     during the third quarter of 2017, subject to the approval of Panera shareholders




                                               11
 Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 12 of 20 PageID #: 12



       and the satisfaction of customary closing conditions, including applicable
       regulatory approvals.

       Mr. Shaich has entered into a voting agreement whereby he and entities affiliated
       with him have agreed to vote shares representing approximately 15.5% of the
       Company’s voting power in favor of the transaction. Following the close of the
       transaction, Panera will be privately held and continue to be operated
       independently by the Company’s management team.

       JAB is acquiring Panera through JAB BV, an investment vehicle of JAB
       Consumer Fund and JAB Holding Company. JAB Consumer Fund is backed by a
       group of like-minded, long-term oriented investors and, together with JAB
       Holding Company, invests in companies with premium brands, attractive growth
       and strong margin dynamics in the Consumer Goods category. Both JAB Holding
       Company and JAB Consumer Fund are overseen by three senior partners, Peter
       Harf, Bart Becht and Olivier Goudet. Entities affiliated with BDT Capital Partners
       are also investing alongside JAB BV.

       46.     As noted in both the press release and Merger Agreement, Panera’s stockholders will

have the right to receive, in exchange for each share of Panera common stock, $315 per share in

cash. However, the consideration to be paid to Plaintiff and the Class in the Proposed Transaction is

inadequate because, among other things, the intrinsic value of the Company is materially in excess of

the amount offered in the Proposed Transaction.

       47.     Here, the Individual Defendants have secured a deal that significantly harms

shareholders, as Plaintiff and the Class will lose their right to share proportionately and equitably in

the future success of the Company as a standalone entity.

The Proxy Statement Omits Material Information

       48.     On May 12, 2017, Panera filed the Proxy Statement with the SEC. As alleged

below and elsewhere herein, the Proxy Statement contains material misstatements and omissions

of fact that must be cured to allow Panera’s stockholders to render an informed decision with

respect to the Proposed Transaction.

       49.     As discussed below, the Proxy Statements omits material information regarding

(i) Morgan Stanley’s potential conflicts of interest; (ii) the valuation analyses prepared by


                                                  12
 Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 13 of 20 PageID #: 13



Panera’s financial advisor, Morgan Stanley, in connection with the rendering of its fairness

opinion; and (iii) Panera’s management’s financial projections, utilized by Morgan Stanley in its

financial analyses. This material information directly impacts the Company’s expected future

value as a standalone entity, and its omission renders the statements made materially misleading

and, if disclosed, would significantly alter the total mix of information available to Panera’s

stockholders.

       50.      With regard to the potential conflicts of interest faced by Morgan Stanley, the

Proxy Statement fails to disclose material information concerning the potential conflicts of

interest faced by Morgan Stanley as the Company’s financial advisor. The Proxy Statement

details on page 45 the fee that Morgan Stanley will receive in connection with Morgan Stanley’s

role as financial advisor to Panera, and the lack of any prior compensation paid to Morgan

Stanley by Panera over the past two years. However, the Proxy Statement fails to fully disclose

material information concerning Morgan Stanley’s prior relationship with JAB.

       51.      As a result of the central role played by investment banks in the evaluation,

exploration, selection, and implementation of strategic alternatives, full disclosure of investment

banker compensation and all potential conflicts is necessary for stockholders to have a materially

complete sense of the conflicts of interests operating in the background.             Despite this

requirement, the Proxy Statement fails to detail the full extent of the services that Morgan

Stanley has provided to JAB or its affiliates in the past two years. Instead, the Proxy Statement

simply notes that in the two years prior to the date of Morgan Stanley’s opinion, Morgan Stanley

or its affiliates have provided financing services and financial advisory services to certain

affiliates of JAB’s ultimate parent entity, for which Morgan Stanley or its affiliates has received,

in the aggregate, compensation of between $25 million and $30 million. No further disclosures




                                                13
 Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 14 of 20 PageID #: 14



are provided pertaining to the identity of these entities or the nature of the work that was

provided. This is particularly troubling in light of the fact that Morgan Stanley waited until

March 30, 2017, just five days before the Merger Agreement was executed, to disclose its prior

engagements with the JAB affiliates to the Panera Board.

       52.     With respect to Morgan Stanley’s Discounted Cash Flow Analysis, the Proxy

Statement fails to disclose: (i) the constituent line items used in calculating unlevered free cash

flow, including tax-affected earnings before interest and taxes and after stock-based

compensation expense, depreciation and amortization, capital expenditures, cash flow from other

investing activities, changes in working capital, and certain after tax one-time items of the

Company; (ii) the estimated terminal value of the Company; (ii) the estimated debt outstanding

of the Company; (iii) the estimated cash balance of the Company; (iv) the inputs and

assumptions used to calculate the discount rate range of 5.7% to 7.5%; (v) the estimated debt

outstanding, and estimated non-controlling interest and cash, cash equivalents and marketable

securities as of December 31, 2016, as provided by the Company’s management; and (vi) the

number of fully diluted shares of Panera common stock outstanding as of December 31, 2016, as

provided by Panera’s management.

       53.     When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed. Furthermore,

disclosure of projected financial information is material because it provides stockholders with a

basis to project the future financial performance of a company, and allows stockholders to better

understand the financial analyses performed by the company’s financial advisor in support of its

fairness opinion. Here, the Defendants’ failure to provide full and accurate disclosures renders




                                                14
 Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 15 of 20 PageID #: 15



the Proxy Statement false and misleading, including, inter alia, the following sections of the

Proxy Statement: (i) “Background of the Merger”; (ii) “Reasons for the Merger;(iii)

Recommendation of the Board”; (iv) “Summary of Material Financial Analyses”; (v) “Opinion of

Morgan Stanley & Co. LLC”; and (vi) “Certain Company Forecasts.”

       54.     Additionally, the Proxy Statement also fails to disclose material information

concerning the Company’s financial projections. Specifically, the Proxy Statement discloses four

non-GAAP accounting metrics for projected financial information over the years 2017-2021:

Unlevered Cash Flow from Operations, Unlevered Free Cash Flow, EBITDA, and EBIT. Providing

these non-GAAP metrics without fully disclosing the line item metrics used to calculate them, or

otherwise reconciling the non-GAAP figures to GAAP measures, makes the provided disclosure

materially incomplete and misleading. Non-GAAP measures have no universally understood

definition and vary widely between companies depending on the needs of management in promoting

their own effect on Company performance.

       55.     The Proxy Statement provides Panera stockholders with non-GAAP financial

projections that make it extremely difficult for stockholders to assess the fairness of the Proposed

Transaction. Because of the non-standardized and potentially manipulative nature of non-GAAP

measures, the SEC requires that, when a company discloses non-GAAP financial measures, as is the

case here, the Company must also disclose comparable GAAP measures and a quantitative

reconciliation of forward-looking information. 17 C.F.R. § 244.100.

       56.     Item 10(e)(1)(i)(B) of SEC Regulation S-K further states that, with regard to

forward-looking information such as financial projections, any reconciling metrics that are

available without unreasonable efforts must be disclosed.             17 C.F.R. 229.10(e)(1)(i)(B).

Moreover, on May 17, 2016, the SEC’s Division of Corporation Finance released updated

Compliance and Disclosure Interpretations (“C&DIs”) on the use of non-GAAP financial



                                                15
 Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 16 of 20 PageID #: 16



measures. One of the new C&DIs regarding forward-looking information, such as financial

projections, explicitly requires companies to provide reconciling metrics for “free cash flow”

figures.        S.E.C.   Comp.    &     Disc.   Interps.,   Question    102.07       (May   17,   2016)

https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm.

          57.    The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to Panera’s stockholders. Accordingly, based on the

foregoing disclosure deficiencies in the Proxy Statement, Plaintiff seeks injunctive and other

equitable relief to prevent the irreparable injury that Company stockholders will suffer, absent

judicial intervention, if Panera’s stockholders are required to vote on the Proposed Transaction

without the above-referenced material misstatements and omissions being remedied.

                                      CLAIMS FOR RELIEF

                                           COUNT I
           Against All Defendants for Violations of Section 14(a) of the Exchange Act
                           and Rule 14a-9 Promulgated Thereunder

          58.    Plaintiff repeats and realleges each allegation set forth herein.

          59.    As detailed herein, Defendants disseminated the materially incomplete and

misleading Proxy Statement specified above, which contained statements which, at the time and

in the light of the circumstances under which they were made, misstated and omitted material

facts necessary in order to make the statements therein not misleading, in violation of Section

14(a) of the Exchange Act and SEC Rules promulgated thereunder, including SEC Rule 14a-9.

          60.    By the use of the mails and by means and instrumentalities of interstate commerce

and the facility of a national securities exchange, Defendants solicited and permitted the use of

their names to solicit proxies or consents or authorizations in respect of the common stock of

Panera.




                                                   16
 Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 17 of 20 PageID #: 17



       61.     By virtue of their positions within the Company, the Individual Defendants were

aware of this information and of their duty to disclose this information in the Proxy Statement.

The Proxy Statement was prepared, reviewed, and/or disseminated by Defendants. The Proxy

Statement misrepresented and omitted material facts, including material information about the

unfair sale process for the Company, the unfair consideration offered in the Proposed

Transaction, and the actual intrinsic value of the Company’s assets. Defendants were at least

negligent in filing and disseminating the Proxy Statement with these materially false and

misleading statements and omissions. Defendants have also failed to correct the Proxy Statement

and the failure to update and correct false statements is also a violation of Section 14 of the

Exchange Act and SEC Rules promulgated thereunder.

       62.     The omissions and misleading statements in the Proxy Statement are material in

that a reasonable stockholder would consider them significant in deciding whether to vote in

favor of and tender their shares in the Proposed Transaction. A reasonable investor would view a

full and accurate disclosure as significantly altering the “total mix” of information made

available in the Proxy Statement and in other information reasonably available to stockholders.

       63.     Defendants knew, or should have known, the true facts underlying the

misstatements and omissions of material facts alleged herein. All of the relevant facts are, and at

all relevant times have been, available to the Defendants.

       64.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from immediate and irreparable injury, which

defendants’ actions threaten to inflict.


                                      COUNT II
   Against the Individual Defendants for Violation of Section 20(a) of the Exchange Act




                                                17
 Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 18 of 20 PageID #: 18



       65.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       66.     The Individual Defendants acted as controlling persons of Panera within the

meaning of Section 20(a) of the Exchange Act, as alleged herein. By virtue of their positions as

officers and directors of Panera and their participation in and awareness of the Company’s

business and operations and their intimate knowledge of the materially false statements and

omissions contained in the Proxy Statement filed with the SEC, they had the power to influence

and control and did influence and control, directly or indirectly, the decision-making of the

Company, including the content and dissemination of the various statements that Plaintiff

contends are false and misleading.

       67.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be false and

misleading prior to or shortly after these statements were issued and had the ability to prevent the

issuance of the statements or to cause the statements to be corrected.

       68.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the securities

violations as alleged herein, and exercised the same. Among other things, the Proxy Statement at

issue contains the unanimous recommendation of the Individual Defendants to approve the

Proposed Transaction. Thus, they were directly involved in the making of that document.

       69.     In addition, as the Proxy Statement sets forth at length, and as described herein,

the Individual Defendants were each involved in negotiating, reviewing, and approving the

Proposed Transaction. The Proxy Statement purports to describe the various issues and




                                                 18
 Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 19 of 20 PageID #: 19



information that they reviewed and considered – descriptions which had input from the

Individual Defendants.

       70.    By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against defendants jointly and

 severally, as follows:

       (A)    declaring this action to be a class action and certifying Plaintiff as the Class

       representatives and his counsel as Class counsel;

       (B)    declaring that the Proxy Statement is materially false or misleading;

       (C)    enjoining, preliminarily and permanently, the Proposed Transaction;

       (D)    in the event that the transaction is consummated before the entry of this

       Court’s final judgment, rescinding it or awarding Plaintiff and the Class rescissory

       damages;

       (E)    directing that Defendants account to Plaintiff and the other members of the

       Class for all damages caused by them and account for all profits and any special

       benefits obtained as a result of their breaches of their fiduciary duties.

       (F)    awarding Plaintiff the costs of this action, including a reasonable allowance

       for the fees and expenses of Plaintiff’s attorneys and experts; and

       (G)    granting Plaintiff and the other members of the Class such further relief as the

       Court deems just and proper.

                                       JURY DEMAND

         Plaintiff demands a trial by jury.




                                                 19
 Case: 4:17-cv-01610-SNLJ Doc. #: 1 Filed: 06/02/17 Page: 20 of 20 PageID #: 20




Dated: June 2, 2017                 CAREY DANIS & LOWE

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                                      20
